Case 2:22-cv-00065-GRB-ARL Document 9 Filed 10/07/22 Page 1 of 1 PageID #: 47



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                                                     October 07, 2022

VIA ECF

Hon. Arlene R. Lindsay, USMJ
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11717

Re:    Zaldivar v Levent Company, Ltd and Muslum Levent,
       Case No. 22-cv-00065(GRB)(ARL)

Dear Judge Lindsay:

        I represent the Plaintiff in the above referenced FLSA case. Please accept this joint status
report. The parties have selected a mediator from the Eastern District of New York panel –
Michael McKenna, Esq. A conference call is scheduled for next week when defense counsel
returns from travelling to set the date for mediation, and the parties request leave to advise the
Court of the mediation date on or before October 14, 2022.

                                                     Respectfully submitted,,

                                                     Steven J. Moser
                                                     Steven J. Moser

CC:    All counsel of record via ECF




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